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EXHIBIT B

Blacklined Order (without Exhibit)
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

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Chapter 11
In re

Case No. 09-10138 (KG)
Nortel Networks Inc., et al.,!

Jointly Administered

Debtors.
, RE: D.I 196

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ORDER UNDER SECTIONS 365(a) AND 554(a) OF THE
BANKRUPTCY CODE AUTHORIZING THE DEBTORS TO (1) REJECT
AS OF FEBRUARY 28, 2009, CERTAIN UNEXPIRED LEASES OF
NONRESIDENTIAL REAL PROPERTY AND RELATED SUBLEASES, AND

(2) ABANDON ANY PERSONAL PROPERTY LOCATED AT SUCH PREMISES

Upon the motion dated, February 2, 2009 (the “Motion’”),? of Nortel Networks Inc. and its

affiliated debtors, as debtors and debtors in possession in the above-captioned cases (the

‘Debtors”), for entry of an order, as more fully described in the Motion, authorizing the Debtors
to reject certain unexpired leases of nonresidential real property (the “Prime Leases”) and related

subleases (the “Subleases,” and together with the Prime Leases, the “Leases,” being more

particularly described on Exhibit A hereto) , and to abandon any personal property located at
such premises}; and adequate notice of the Motion having been given as set forth in the Motion;

and it appearing that no other or further notice is necessary; and the Court having jurisdiction to

1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax identification number,

are: Nortel Networks Inc. (6332), Nortel Networks Capital Corporation (9620), Alteon WebSystems, Inc. (9769),
Alteon WebSystems International, Inc. (5596), Xros, Inc. (4181), Sonoma Systems (2073), Qtera Corporation
(0251), CoreTek, Inc. (5722), Nortel Networks Applications Management Solutions Inc. (2846), Nortel Networks
Optical Components Inc. (3545), Nortel Networks HPOCS Inc. (3546), Architel Systems (U.S.) Corporation
(3826), Nortel Networks International Inc. (0358), Northern Telecom International Inc. (6286) and Nortel
Networks Cable Solutions Inc. (0567). Addresses for the Debtors can be found in the Debtors’ petitions, which
are available at http://chapter] 1.epiqsystems.com/nortel.

2 Capitalized terms used but not defined herein shall have the meaning ascribed to them in the Motion.
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consider the Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334; and
the Court having determined that consideration of the Motion is a core proceeding pursuant to 28
U.S.C. § 157(b)(2); and the Court having determined that the legal and factual bases set forth in
the Motion establish just cause for the relief requested in the Motion, and that such relief is in the
best interests of the Debtors, their estates, their creditors and the parties in interest; and upon the
record in these proceedings; and after due deliberation;

IT IS HEREBY ORDERED THAT:

1. The Motion is GRANTED.

2. The Debtors are authorized to reject certain unexpired leases of nonresidential real
property (the “Prime Leases’’) and related subleases (the “Subleases,” and together with the

Prime Leases, the “Leases,” being more particularly described on Exhibit A hereto), and to

abandon any personal property located at such premises.

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5. 3-The Debtors reserve all rights to contest any rejection claims and/or the

characterization of the Leases as unexpired leases, or otherwise.
6. 4-The Debtors do not waive any claims that they may have against any of the

counterparties to the Leases, whether or not such claims are related to the Leases.
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L 3-Notwithstanding any provision in the Federal Rules of Bankruptcy Procedure to
the contrary, (i) the terms of this Order shall be immediately effective and enforceable upon its
entry, (ii) the Debtors are not subject to any stay in the implementation, enforcement or
realization of the relief granted in this Order, and (iii) the Debtors may, in their discretion and
without further delay, take any action and perform any act authorized under this Order.

8. 6-The Court retains jurisdiction with respect to all matters arising from or related

to the implementation of this Order.

Dated: , 2009
Wilmington, Delaware

THE HONORABLE KEVIN GROSS
UNITED STATES BANKRUPTCY JUDGE
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Document comparison by Workshare Professional on Friday, February 20, 2009
:OT:

Document 11D __|interwovenSite://WIL-IDMS/WILM/2735684/1

#2 735684v1<WILM> - Nortel- Reject ion Order (reserved
properties)

Document 21D __|interwovenSite://WIL-IDMS/WILM/2738094/1

#2 738094V1<WILM> - 2014584 _4(Nortel Motion to Reject
(reserved properties)--final order). DOC

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